         Case 1:21-cv-00131-JL Document 262-1 Filed 03/01/24 Page 1 of 1
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To the Honorable Judge LaPlante
NH US District Court



February 26. 2024

I, Stuart M. Weil, M.D., I am over the age of twenty’one (21) years, of sound mind, capable of
making this Affidavit, and do hereby state the following:

Gary Michael Voris has been under my care since January 3, 2024, when he presented in my office
with severe right leg pain from a herniated disc at L4-L5 requiring surgery on January 8, 2024.

The surgery was technically successful and he is making a reasonable recovery.

He is currently on a variety of medications, including narcotics and neurogenic drugs for alleviation
of pain associated with recovery and nerve regeneration.

These medications in my opinion affect mentation and cognition making it highly inappropriate for
him to offer testimony or adequately prepare for any legal defense.

It would be highly inappropriate for Mr. Voris to engage in legal matters under oath or proceedings
of any significance or importance with lasting impact until such time he has healed sufficiently for
him to be off medications currently prescribed.

Understanding that a trial date has been set for mid-April, I can state with a reasonable degree of
medical certainty that it is veiy unlikely that Mr. Voris would be ready to either travel to or
participate in a legal proceeding, including being able to engage in necessary preparation.

While I am not an attorney, Mr. Voris is under my medical care and I have counseled him against
proceeding until he has made a significant recovery.
DATED this          day of                      , 2024.


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                                                      Stuart M. Weil, M.D.

SUBSCRIBED AND SWORN TO before me by Dr. Stuart Weil on the^T^ay of February, 2024.


      0'^.        MARY YATES
  I          My Noteiy ID # 10172314                 NOTARY            IC, STATE OF TEXAS
              Expires May 19.2027


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